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                In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-0467V
                                      (Not to be Published)

*************************
CHARLES HUGGINS,            *
                            *
                Petitioner, *                              Filed: August 12, 2019
                            *
          v.                *
                            *                              Entitlement; Decision by Proffer; Damages;
SECRETARY OF HEALTH AND     *                              Influenza (“Flu”) Vaccine; Guillain-Barré
HUMAN SERVICES,             *                              syndrome (“GBS”).
                            *
                Respondent. *
*************************

Alison H. Haskins, Maglio Christopher and Toale, PA, Sarasota, FL, for Petitioner.

Glenn Alexander MacLeod, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                               DECISION AWARDING DAMAGES1

       On March 31, 2017, Petitioner Charles Huggins filed a petition seeking compensation
under the National Vaccine Injury Compensation Program.2 Petitioner alleges that he developed
Guillain-Barré syndrome (“GBS”) as a result of receiving an influenza (“flu”) vaccine on October
14, 2014. Petition, ECF No. 1.




1
 Because this decision contains a reasoned explanation for my actions in this case, I will post it on the
United States Court of Federal Claims website, in accordance with the E-Government Act of 2002, 44
U.S.C. § 3501 (2012). This means the ruling will be available to anyone with access to the internet.
As provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the decision’s inclusion
of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen
days within which to request redaction “of any information furnished by that party: (1) that is a trade secret
or commercial or financial in substance and is privileged or confidential; or (2) that includes medical files
or similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.”
Vaccine Rule 18(b). Otherwise, the whole decision will be available to the public. Id.
2
  The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3758, codified as amended at 42 U.S.C. §§ 300aa-10 through 34 (2012) (“Vaccine
Act” or “the Act”). Individual section references hereafter will be to § 300aa of the Act (but will omit that
statutory prefix).
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        On February 16, 2018, Respondent filed a Rule 4(c) Report (“Respondent’s Report”),
recommending that compensation be awarded in this case. Respondent’s Report at 1, ECF No. 41.
Specifically, Respondent stated that the medical evidence demonstrates Petitioner has “satisfied
the criteria set forth in the recently revised Vaccine Injury Table (Table) and the Qualifications
and Aids to Interpretation (QAI),” which allows Petitioner “a presumption of causation if the onset
of GBS occurs between three and forty-two days after a seasonal flu vaccination and there is no
apparent alternative cause.” Id. at 3. Accordingly, Respondent concluded that Petitioner is entitled
to an award of damages, the scope of which is limited to Petitioner’s GBS and its related sequelae.
Id.

        In light of Respondent’s concession, I issued a Ruling on Entitlement on February 23, 2018.
ECF No. 42. I subsequently ordered the parties to inform the Court on their progress towards
resolving damages. See Damages Order, ECF No. 43.

      Respondent filed a proffer on August 8, 2019 (ECF No. 57), agreeing to issue the following
payments:
          a. a lump sum payment of $115,000.00 for all damages, paid in the form of a check
             to Petitioner.
       These amounts represent all elements of compensation for all damages that would be
available under § 300aa-15(a).

        I adopt the parties’ proffer attached hereto, and award compensation in the amount and on
the terms set forth therein. I, therefore, award compensation in the amount of a lump sum
payment of $115,000.00, in the form of a check payable to Petitioner, Charles Huggins. The
clerk of court is directed to enter judgment in accordance with this decision.3

       IT IS SO ORDERED.


                                                             s/ Katherine E. Oler
                                                             Katherine E. Oler
                                                             Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.
                                                 2
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

*************************
                        *
CHARLES HUGGINS,        *
                        *
     Petitioner,        *
                        *
v.                      *                             No. 17-467V (ECF)
                        *                             Special Master
                        *                             KATHERINE E. OLER
SECRETARY OF HEALTH     *
AND HUMAN SERVICES,     *
                        *
     Respondent         *
*************************

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

         On February 16, 2018, respondent filed his Vaccine Rule 4(c) report conceding

entitlement to compensation in this matter. On February 23, 2018, the Court entered its Ruling

on Entitlement, finding petitioner, Charles Huggins, entitled to Vaccine Act compensation.

Respondent herein proffers the following amount(s) of reasonable compensation due petitioner.

I.     Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

a lump sum total of $115,000.00, which amount represents all elements of compensation to

which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 1 Petitioner agrees.




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses and future pain and suffering.
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II.       Form of the Award

          The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment of $115,000.00 in the form of a check payable to petitioner,

Charles Huggins. 2 Petitioner agrees.

                                                Respectfully submitted,

                                                JOSEPH H. HUNT
                                                Assistant Attorney General

                                                C. SALVATORE D’ALESSIO
                                                Acting Director
                                                Torts Branch, Civil Division

                                                CATHARINE E. REEVES
                                                Deputy Director
                                                Torts Branch, Civil Division

                                                ALEXIS B. BABCOCK
                                                Assistant Director
                                                Torts Branch, Civil Division

                                                /s/ GLENN A. MACLEOD
                                                GLENN A. MACLEOD
                                                Senior Trial Counsel
                                                Torts Branch, Civil Division
                                                U.S. Department of Justice
                                                P.O. Box 146, Benjamin Franklin Station
                                                Washington, D.C. 20044-0146
                                                Tel.: (202) 616-4122

DATE: August 8, 2019




2
      Petitioner is a competent adult. No guardianship is required.


                                                   2
